Case 1:11-cv-00538-DKW-BMK Document 14 Filed 10/18/11 Page 1 of 4   PageID.363




 IMANAKA KUDO & FUJIMOTO
 A Limited Liability Law Company

 WESLEY M. FUJIMOTO              3100-0
 RYAN E. SANADA                  7464-0
 Topa Financial Center, Fort Street Tower
 745 Fort Street Mall, Suite 1700
 Honolulu, Hawaii 96813
 Telephone: (808) 521-9500
 Facsimile: (808) 541-9050
 Email: wfujimoto@imanakakudo.com
 Email: rsanada@imanakakudo.com

 Attorneys for Defendant
 MARK POLLARD

                  IN THE UNITED STATES DISTRICT COURT

                              DISTRICT OF HAWAII

 LIANE WILSON; and JOANNA                   CIVIL NO. 11-00538 LEK.BMK
 WHEELER, on behalf of themselves
 and on behalf of other females similarly   NOTICE OF APPEARANCE OF
 situated,                                  RYAN E. SANADA AS COUNSEL
                                            FOR DEFENDANT MARK
             Plaintiffs,                    POLLARD; CERTIFICATE OF
                                            SERVICE
       vs.

 WYNDHAM WORLDWIDE
 CORPORATION; WYNDHAM
 VACATION OWNERSHIP, INC.;
 WYNDHAM VACATION
 RESORTS, INC.; MICHAEL
 JONAH; MARK POLLARD; TOM
 VIRAG; DOE I-X; and ROE
 BUSINESS ENTITIES I-X, inclusive,

             Defendants.
Case 1:11-cv-00538-DKW-BMK Document 14 Filed 10/18/11 Page 2 of 4          PageID.364




                NOTICE OF APPEARANCE OF RYAN E. SANADA
                AS COUNSEL FOR DEFENDANT MARK POLLARD

            COMES NOW Ryan E. Sanada of the law firm IMANAKA KUDO &

 FUJIMOTO and hereby enters an appearance as counsel on behalf of MARK

 POLLARD, Defendant, in the above-entitled matter effective immediately.

            DATED:   Honolulu, Hawaii; October 18, 2011.

                                              IMANAKA KUDO & FUJIMOTO

                                              /s/ Ryan E. Sanada
                                              WESLEY M. FUJIMOTO
                                              RYAN E. SANADA
                                              Attorneys for Defendant
                                              MARK POLLARD
 605197.1




                                          2
Case 1:11-cv-00538-DKW-BMK Document 14 Filed 10/18/11 Page 3 of 4            PageID.365




                  IN THE UNITED STATES DISTRICT COURT

                              DISTRICT OF HAWAII

 LIANE WILSON; and JOANNA                     CIVIL NO. 11-00538 LEK.BMK
 WHEELER, on behalf of themselves
 and on behalf of other females similarly     CERTIFICATE OF SERVICE
 situated,

             Plaintiffs,

       vs.

 WYNDHAM WORLDWIDE
 CORPORATION; WYNDHAM
 VACATION OWNERSHIP, INC.;
 WYNDHAM VACATION
 RESORTS, INC.; MICHAEL
 JONAH; MARK POLLARD; TOM
 VIRAG; DOE I-X; and ROE
 BUSINESS ENTITIES I-X, inclusive,

             Defendants.


                           CERTIFICATE OF SERVICE

       I hereby certify that on this date I caused a true and correct copy of the

 foregoing document to be served on the following individuals to their respective

 addresses by the method noted below:

       Electronically served through CM/ECF system:

       Carl M. Varady, Esq.                                 carl@varadylaw.com
       Felicia Medina, Esq.                                 fmedina@swhlegal.com
       Attorneys for Plaintiffs
Case 1:11-cv-00538-DKW-BMK Document 14 Filed 10/18/11 Page 4 of 4   PageID.366




       Anna M. Elento-Sneed, Esq.        aes@ahfi.com
       Zachary A. McNish, Esq.           zmcnish@ahfi.com
       Attorneys for Defendants
       WYNDHAM WORLWIDE CORPORATION,
       WYNDHAM VACATION OWNERSHIP, INC.,
       WYNDHAM VACATION RESORTS, INC.,
       MICHAEL JONAH and TOM VIRAG


       DATED:     Honolulu, Hawaii, October 18, 2011.

                                       IMANAKA KUDO & FUJIMOTO

                                       /s/ Ryan E. Sanada
                                       WESLEY M. FUJIMOTO
                                       RYAN E. SANADA
                                       Attorneys for Defendant
                                       MARK POLLARD
       605197.1




                                      2
